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                                   UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                     Plaintiff,

v.                                                                      Case No. 11-20129

VICTOR CARLOS CASTANO,

                     Defendants.
                                                                   /

                       OPINION AND ORDER DENYING MOTION TO VACATE
                                    FILED UNDER SEAL

          Before the court is a “Motion . . . to Vacate Pretrial Detention Order and to Set

Bond or, in the Alternative, to Place Defendant Castano in the Group of Defendants to

be Tried First.” The matter has been fully briefed, and the court conducted a series of

hearings on the issue. For the reasons stated fully on the record,

          IT IS ORDERED that the motion to vacate is DENIED.



                                                              s/Robert H. Cleland
                                                              ROBERT H. CLELAND
                                                              UNITED STATES DISTRICT JUDGE

Dated: April 16, 2014

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, April 16, 2014, by electronic and/or ordinary mail.

                                                              s/Lisa Wagner
                                                              Case Manager and Deputy Clerk
                                                              (313) 234-5522




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